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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA,
      Plaintiff,
                                                         Criminal No. ELH-13-0629
       v.                                                             ELH-18-0017
SHAWN JACKSON,
       Defendant.




                                      MEMORANDUM

       This Memorandum resolves a motion for compassionate release filed by Shawn Jackson,

who is self-represented. In 2018, Jackson was one of 19 defendants charged in a serious drug

trafficking case. ECF 157. Pursuant to a Plea Agreement (ECF 428), he entered a plea of guilty

on March 4, 2019 (ECF 432), to the offense of conspiracy to distribute one kilogram or more of

heroin. The Court sentenced Jackson on July 31, 2019, to a term of 108 months in prison. ECF

626. He was also sentenced to a concurrent term of two years of incarceration for a violation of

supervised release in the case of United States v. Shawn Jackson, ELH-13-629. Id. at 294. He

appears to have credit dating to September 12, 2017. ECF 624 at 1.

       Jackson is currently serving his sentence at FCI Coleman Low in Florida.             The

government did not specify his projected release date.

       Jackson’s request for compassionate release was denied by the Warden on May 18, 2020.

ECF 696; ECF 707-1. Thereafter, on June 3, 2020, Jackson moved for compassionate release or

for a sentence reduction (the “Motion”). ECF 696. The government opposes the Motion (ECF

717) and has submitted exhibits docketed collectively at ECF 717-1. No reply was filed. The

Office of the Federal Public Defender has declined to file a supplement for Jackson. ECF 707.
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                                       I. Factual Summary

       The defendant was convicted of conspiracy to distribute more than one kilogram of

heroin from March of 2017 through January of 2018.               Jackson was a leader of the

“Transformers” heroin shop that operated in an area of Baltimore that is plagued by violence.

The investigation into Jackson and the drug trafficking organization involved pole camera

surveillance of the drug activities as well as the authorized interception of hundreds of

conversations.

       On September 12, 2017, a search warrant was executed at Jackson’s hotel room.

Investigators approached Jackson, who then began running as he tossed a black bag that

contained 340 grams of heroin.      During the search of Jackson’s hotel room, investigators

recovered an additional 250 grams of heroin; $464,067 in U.S. currency; five cellular telephones;

and drug packaging and processing materials.

                                    II. Statutory Background

       Ordinarily, a court “may not modify a term of imprisonment once it has been imposed.”

18 U.S.C. § 3582(c); see Dillon v. United States, 560 U.S. 817, 824-25 (2010); United States v.

Chambers, 956 F.3d 667, 671 (4th Cir. 2020); United States v. Jackson, 952 F.3d 492, 495 (4th

Cir. 2020); United States v. Martin, 916 F.3d 389, 395 (4th Cir. 2019). But, “the rule of finality

is subject to a few narrow exceptions.” Freeman v. United States, 564 U.S. 522, 526 (2011).

One such exception is when the modification is “expressly permitted by statute.” 18 U.S.C.

§ 3582(c)(1)(B); see Jackson, 952 F.3d at 495.

       Commonly termed the “compassionate release” provision, 18 U.S.C. § 3582(c)(1)(A)(i)

provides a statutory vehicle to modify a defendant’s sentence. Section 3582 was adopted as part

of the Sentencing Reform Act of 1984. It originally permitted a court to alter a sentence only



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upon a motion by the Director of the BOP. See Pub. L. No. 98-473, § 224(a), 98 Stat. 2030

(1984). Thus, a defendant seeking compassionate release had to rely on the BOP Director for

relief. See, e.g., Orlansky v. FCI Miami Warden, 754 F. App’x 862, 866-67 (11th Cir. 2018);

Jarvis v. Stansberry, No. 2:08CV230, 2008 WL 5337908, at *1 (E.D. Va. Dec. 18, 2008)

(denying motion for compassionate release because § 3582 “vests absolute discretion” in the

BOP).

        However, for many years the safety valve of § 3582 languished. The BOP rarely filed

motions on an inmate’s behalf. As a result, compassionate release was exceedingly rare. See

Hearing on Compassionate Release and the Conditions of Supervision Before the U.S.

Sentencing Comm’n 66 (2016) (statement of Michael E. Horowitz, Inspector General, Dep’t of

Justice) (observing that, on average, only 24 inmates were granted compassionate release per

year between 1984 and 2013).

        In December 2018, Congress significantly amended the compassionate release

mechanism when it enacted the First Step Act of 2018 (“FSA”). See Pub. L. 115-391, 132 Stat.

5239 (2018). As amended by the FSA, 18 U.S.C. § 3582(c)(1)(A) permits a court to reduce a

defendant’s term of imprisonment “upon motion of the Director of [BOP], or upon motion of the

defendant after the defendant has fully exhausted all administrative rights to appeal a failure of

the [BOP] to bring a motion on the defendant’s behalf or the lapse of 30 days from the receipt of

such a request by the warden of the defendant’s facility,” whichever occurs first. So, once a

defendant has exhausted his administrative remedies, he may petition a court directly for

compassionate release.

        Section 3582(c) is titled “Modification of an imposed term of imprisonment.” Under

§ 3582(c)(1)(A), the court, upon motion of the Director of BOP or the defendant, upon



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exhaustion of administrative rights, may modify the defendant’s sentence if, “after considering

the factors set forth in section 3553(a) to the extent that they are applicable,” it finds that

        (i) extraordinary and compelling reasons warrant such a reduction;

        (ii) the defendant is at least 70 years of age, has served at least 30 years in prison,
        pursuant to a sentence imposed under section 3559(c), for the offense or offenses
        for which the defendant is currently imprisoned, and a determination has been
        made by the Director of the Bureau of Prisons that the defendant is not a danger to
        the safety of any other person or the community, as provided under section
        3142(g);

        and that such a reduction is consistent with applicable policy statements issued by
        the Sentencing Commission . . . .

        Accordingly, in order to be entitled to relief under 18 U.S.C. § 3582(c)(1)(A)(i), a

defendant must demonstrate that (1) “extraordinary and compelling reasons” warrant a reduction

of the sentence; (2) the factors set forth in 18 U.S.C. § 3553(a) countenance a reduction; and (3)

the sentence modification is “consistent” with the policy statement issued by the Sentencing

Commission in U.S.S.G. § 1B1.13.

        U.S.S.G. § 1B1.13 is titled “Reduction in Term of Imprisonment under 18 U.S.C.

§ 3582(c)(1)(A) Policy Statement.” The text mirrors the statute. Application Note 1 of U.S.S.G.

§ 1B1.13 defines “Extraordinary and Compelling Reasons” in part as follows (emphasis added):

            1. Extraordinary and Compelling Reasons.—Provided the defendant meets
            the requirements of subdivision (2), extraordinary and compelling reasons exist
            under any of the circumstances set forth below:[1]

            (A) Medical Condition of the Defendant.—

                (i) The defendant is suffering from a terminal illness (i.e., a serious and

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         Subsection (2) of U . S . S . G . § 1B1.13 establishes as a relevant factor that “the
 defendant is not a danger to the safety of any other person or to the community, as provided in
 18 U.S.C. § 3142(g).” U.S.S.G. § 1B1.13(2).


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             advanced illness with an end of life trajectory). A specific prognosis of life
             expectancy (i.e., a probability of death within a specific time period) is not
             required. Examples include metastatic solid-tumor cancer, amyotrophic
             lateral sclerosis (ALS), end-stage organ disease, and advanced dementia.

             (ii) The defendant is—

               (I)    Suffering from a serious physical or medical condition,

                (II) suffering from a serious functional or cognitive impairment, or

                (III) experiencing deteriorating physical or mental health because of
                the aging process,

           that substantially diminishes the ability of the defendant to provide self-
           care within the environment of a correctional facility and from which he
           or she is not expected to recover.

       Other extraordinary and compelling reasons include the age of the defendant

(Application Note 1(B)) and Family Circumstances (Application Note 1(C)). Application Note

1(D) permits the court to reduce a sentence where, “[a]s determined by the Director of the

Bureau of Prisons, there exists in the defendant’s case an extraordinary and compelling reason

other than, or in combination with, the reasons described in subdivisions (A) through (C).”

U.S.S.G. § 1B1.13 App. Note 1(D).

       The BOP regulation appears at Program Statement 5050.50, Compassionate

Release/Reduction in Sentence: Procedures for Implementation of 18 U.S.C. §§ 2582 and

4205. The Guideline policy statement in U.S.S.G. § 1B1.13, along with the application notes,

and BOP Program Statement 5050.50 define “extraordinary and compelling reasons” for

compassionate release based on circumstances involving illness, declining health, age,

exceptional family circumstances, as well as “other reasons.”

       Compassionate release is a “rare” remedy. United States v. Chambliss, 948 F.3d 691,

693-94 (5th Cir. 2020); United States v. Mangarella, FDW-06-151, 2020 WL 1291835, at *2-3


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(W.D. N.C. Mar. 16, 2020); White v. United States, 378 F. Supp. 3d 784, 787 (W.D. Mo. 2019).

The defendant, as the movant, bears the burden of establishing that he is entitled to a sentence

reduction under 18 U.S.C. § 3582. See, e.g., United States v. Hamilton, 715 F.3d 328, 337 (11th

Cir. 2013); United States v. Edwards, NKM-17-00003, 2020 WL 1650406, at *3 (W.D. Va. Apr.

2, 2020).

       If the defendant can show an extraordinary and compelling reason that renders him

eligible for a sentence reduction, the Court must then consider whether the defendant remains a

danger to the community under 18 U.S.C. § 3142(g). See U.S.S.G. § 1B1.13(2) and cmt. n.1.

And, the Court must also consider the factors under 18 U.S.C. § 3553(a) to determine whether, in

its discretion, a reduction of sentence is appropriate. Dillon, 560 U.S. at 827.

                                             III. COVID-192

       Defendant filed his Motion while the nation is “in the grip of a public health crisis more

severe than any seen for a hundred years.” Antietam Battlefield KOA v. Hogan, CCB-20-1130,

___ F. Supp. 3d ___, 2020 WL 2556496, at *1 (D. Md. May 20, 2020). That crisis is COVID-

19.3 The World Health Organization declared COVID-19 a global pandemic on March 11, 2020.

See Seth v. McDonough, PX-20-1028, 2020 WL 2571168, at *1 (D. Md. May 21, 2020).

       The judges of this Court “have written extensively about the pandemic.” United States v.

Williams, PWG-19-134, 2020 WL 3073320, at *1 (D. Md. June 10, 2020) (collecting cases).

Therefore, it is not necessary to recount in detail the “unprecedented nature and impact” of the

pandemic. Id.


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            The Court may take judicial notice of matters of public record. See Fed. R. Evid. 201.
       3
         Severe Acute Respiratory Syndrome Coronavirus 2 (SARS-CoV-2) is the cause of
coronavirus disease 2019, commonly called COVID-19. Antietam Battlefield, 2020 WL at
2556496, at *1 n.1 (citation omitted).

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       That said, the virus is highly contagious. See Coronavirus Disease 2019 (COVID-19),

How COVID-19 Spreads, CTRS. FOR DISEASE CONTROL & PREVENTION (Apr. 2, 2020),

https://bit.ly/2XoiDDh.    Moreover, although many people who are stricken with the virus

experience only mild or moderate symptoms, the virus can cause severe medical problems as

well as death, especially for those in “high-risk categories….” Antietam Battlefield KOA, 2020

WL 2556496, at *1 (citation omitted). Unfortunately, there is currently no vaccine, cure, “or

proven effective treatment” that is available. Id. (citation omitted).

       The pandemic “has produced unparalleled and exceptional circumstances affecting every

aspect of life as we have known it.” Cameron v. Bouchard, LVP-20-10949, 2020 WL 2569868,

at *1 (E.D. Mich. May 21, 2020), stayed, ___ Fed. App’x ___, 2020 WL 3100187 (6th Cir. June

11, 2020). For a significant period of time, life as we have known it came to a halt. Although

many businesses have reopened, many are subject to substantial restrictions.       And, in view of

the recent resurgence of the virus, some businesses are again facing closure.

       As of August 3, 2020, COVID-19 has infected about 4.6 million Americans and caused

over 150,000 deaths in this country. See COVID-19 Dashboard, THE JOHNS HOPKINS UNIV.,

https://bit.ly/2WD4XU9 (last accessed August 3, 2020). Unfortunately, there is currently no

vaccine, cure, or proven effective treatment that is available. Moreover, according to the Centers

for Disease Control and Prevention (“CDC”), certain risk factors increase the chance of severe

illness. Those risk factors initially included age (over 65); lung disease; asthma; chronic kidney

disease; serious heart disease; obesity; diabetes; liver disease; and a compromised immune

system. See Coronavirus Disease 2019 (COVID-19), People Who Are At Risk for Severe Illness,

CTRS. FOR DISEASE CONTROL & PREVENTION (May 14, 2020), https://bit.ly/2WBcB16.




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       However, on June 25, 2020, to reflect the most recently available data, the CDC revised

its guidance as to medical conditions that pose a higher risk of severe illness from COVID-19.

Then, on July 17, 2020, the CDC again revised its guidance as to medical conditions that pose a

greater risk of severe illness due to COVID-19. See People of Any Age with Underlying Medical

Conditions,    CTRS.     FOR    DISEASE     CONTROL    &     PREVENTION     (July    17,    2020),

https://bit.ly/38S4NfY. According to the CDC, the factors that increase the risk include cancer;

chronic kidney disease; COPD; being immunocompromised; obesity, where the body mass index

(“BMI”) is 30 or higher; serious heart conditions, including heart failure and coronary artery

disease; sickle cell disease; and Type 2 diabetes.

       The CDC has also created a second category for conditions that “might” present a risk for

complications from COVID-19.         The list of factors that might increase the risk includes

cerebrovascular disease, hypertension, pregnancy, liver disease, cystic fibrosis, neurologic

conditions, a compromised immune system, smoking, and Type I diabetes. See id. Moderate to

severe asthma is an underlying medical condition that was moved to the new category; it is now

identified as a condition that “might” put an individual at higher risk for COVID-19

complications. See id.

       Thus far, the only way to slow the spread of the virus is to practice “social distancing.”

See Coronavirus Disease 2019 (COVID-19), How to Protect Yourself & Others, CTRS. FOR

DISEASE CONTROL & PREVENTION, https://bit.ly/3dPA8Ba (last accessed May 21, 2020). Social

distancing is particularly difficult in the penal setting, however. Seth, 2020 WL 2571168, at *2.

Prisoners have little ability to isolate themselves from the threat posed by the coronavirus. Id.,

see also Cameron, 2020 WL 2569868, at *1. They are not readily able to secure safety products

on their own to protect themselves, such as masks and hand sanitizers.              Consequently,



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correctional facilities are especially vulnerable to viral outbreaks and ill-suited to stem their

spread. See Coreas v. Bounds, TDC-20-0780, 2020 WL 1663133, at *2 (D. Md. Apr. 3, 2020)

(“Prisons, jails, and detention centers are especially vulnerable to outbreaks of COVID-19.”); see

also Letter of 3/25/20 to Governor Hogan from approximately 15 members of Johns Hopkins

faculty at the Bloomberg School of Public Health, School of Nursing, and School of Medicine

(explaining that the “close quarters of jails and prisons, the inability to employ effective social

distancing measures, and the many high-contact surfaces within facilities, make transmission of

COVID-19 more likely”); accord Brown v. Plata, 563 U.S. 493 519-20 (2011) (referencing a

medical expert’s description of the overcrowded California prison system as “‘breeding grounds

for disease’”) (citation omitted).

        The Department of Justice (“DOJ”) has recognized the unique risks posed to inmates and

BOP employees from COVID-19. The DOJ has adopted the position that an inmate who

presents with one of the risk factors identified by the CDC should be considered as having an

“extraordinary and compelling reason” warranting a sentence reduction. See U.S.S.G. § 1B1.13

cmt. n.1(A)(ii)(I).

        On March 23, 2020, the CDC issued guidance for the operation of penal institutions to

help prevent the spread of the virus. Seth, 2020 WL 2571168, at *2. Notably, the BOP has

implemented substantial and extensive measures to mitigate the risks to prisoners, to protect

inmates from COVID-19, and to treat those who are infected. See ECF 717 at 10-12. As the

Third Circuit recognized in United States v. Raia, 954 F.3d 594, 597 (3rd Cir. 2020), the BOP

has made “extensive and professional efforts to curtail the virus’s spread.”

        Moreover, Attorney General William Barr issued a memorandum to Michael Carvajal,

Director of the BOP, on March 26, 2020, instructing him to prioritize the use of home



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confinement for inmates at risk of complications from COVID-19. Hallinan v. Scarantino, 20-

HC-2088-FL, 2020 WL 3105094, at *8 (E.D. N.C. June 11, 2020). Then, on March 27, 2020,

Congress passed the Coronavirus Aid, Relief, and Economic Security Act (the “CARES Act”),

Pub. L. No. 116-136, 134 Stat. 281. In relevant part, the CARES Act authorized the Director of

BOP to extend the permissible length of home confinement, subject to a finding of an emergency

by the Attorney General. See Pub. L. No. 116-136, § 12003(b)(2). On April 3, 2020, the

Attorney General issued another memorandum to Carvajal, finding “the requisite emergency

. . . .” Hallinan, 2020 WL 3105094, at *9. Notably, the April 3 memorandum “had the effect of

expanding the [BOP’s] authority to grant home confinement to any inmate . . . .” Id.

         Nevertheless, as with the country as a whole, the virus persists in penal institutions.4 As

of July 7, 2020, the BOP reported that 1,992 inmates and 160 BOP staff currently tested positive

for COVID-19; 5,137 inmates and 603 staff have recovered; and 94 inmates and one staff

member have died from the virus. See https://www.bop.gov/coronavirus/ (last accessed July 7,

2020).

                                            IV. Discussion

         The defendant is 31 years old. His age is not a basis for relief. He has seven minor

children with four mothers. ECF 624, ¶¶ 56-59. But, he does not claim that their caregivers are

incapacitated in any way. Thus, the defendant is not eligible for compassionate release on the

basis of family circumstances. See U.S.S.G. § 1B1.13 cmt. n.1(C).




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          The New York Times has reported that cases of COVID-19 “have soared in recent
weeks” at jails and prisons across the country. Timothy Williams et al., Coronavirus cases Rise
Sharply in Prisons Even as They Plateau Nationwide, N.Y. TIMES (June 18, 2020),
https://nyti.ms/37JZgH2.

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        Pursuant to the position of the DOJ, the defendant’s medical condition, asthma, may

constitute “extraordinary and compelling” circumstances that would make him eligible for relief.

See U.S.S.G. § 1B1.13 and cmt. n.1(A)-(B).

        The government obtained the defendant’s medical records form the Bureau of Prisons for

2019 and 2020, and his history of asthma is well documented. ECF 717-1. Thus, the defenant’s

asthma might constitute an “extraordinary and compelling reason.”             However, because the

defendant poses a danger to the community, his medical condition does not render him eligible

for relief.

        The underlying facts were recounted, supra. Moreover, this is Jackson’s third conviction

for distributing heroin and his second federal conviction.

        On May 29, 2011, the defendant was arrested and later convicted in the State of

Maryland for conspiracy to distribute heroin. He was sentenced to 3 years of incarceration, of

which 2 years, 9 months, and 17 days were suspended. He was then placed on 3 years of

probation. ECF 624, ¶ 29. On May 15, 2013, Jackson was charged with conspiracy to distribute

and possession with intent to distribute heroin in the United States District Court for the District

of Maryland, ELH-13-0269. Jackson pled guilty before Judge William D. Quarles, Jr. (ECF

107) and was sentenced by him to 60 months of incarceration and 4 years of supervised release.

ECF 162.      He violated his supervised release by committing this second federal offense.

Notably, the prior prosecution and sentence did not deter the defendant from continuing to

engage in drug trafficking.

        Taken as a whole, the factors under 18 U.S.C. § 3142(g) and 18 U.S.C. § 3553(a) weigh

in favor of denial of the Motion.




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      An Order follows.



Date: August 3, 2020                             /s/
                                          Ellen L. Hollander
                                          United States District Judge




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